
55 So.3d 735 (2011)
Octavio P. LLERENA, Petitioner,
v.
SPILLIS, CANDELA &amp; PARTNERS, INC., and One Beacon Insurance Group, Respondent.
No. 1D11-0469.
District Court of Appeal of Florida, First District.
March 9, 2011.
James A. Walker of the Law Offices of James A. Walker, P.A., Miami, for Petitioner.
Marjorie Gadarian Graham of Marjorie Gadarian Graham, P.A., Palm Beach Gardens, for Respondents.
*736 PER CURIAM.
DENIED. See, e.g., Vazquez v. Wendy's, 931 So.2d 152, 152 (Fla. 1st DCA 2006); Fla. Fish &amp; Wildlife Comm'n v. Pringle, 770 So.2d 696, 697 (Fla. 1st DCA 2000); see also, e.g., Dawson v. Clerk of Cir. Ct.-Hillsborough County, 991 So.2d 407, 411 (Fla. 1st DCA 2008).
DAVIS, CLARK, and MARSTILLER, JJ., concur.
